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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


                                             :
FEDERAL TRADE COMMISSION                     :
                                             :
                        Plaintiff,           :
                                             :
                        v.                   :   C.A. No. 1:17-cv-00131-RGA
                                             :
SHIRE VIROPHARMA INC.                        :
                                             :
                                             :
                        Defendant.
                                             :




             OPENING BRIEF IN SUPPORT OF MOTION TO DISMISS BY
                         SHIRE VIROPHARMA INC.




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I.     NATURE AND STAGE OF THE PROCEEDINGS

       On February 7, 2017, the Federal Trade Commission filed a complaint (“Complaint”)

against Shire ViroPharma Inc. (“ViroPharma”) alleging monopolization in violation of section

5(a) of the FTC Act, 15 U.S.C. § 45(a). See D.I. No. 2. ViroPharma hereby respectfully moves

to dismiss the Complaint pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6).

II.    SUMMARY OF THE ARGUMENT

       This action arises out of a petition that ViroPharma filed with the Food and Drug

Administration (“FDA”) in 2006. ViroPharma’s “citizen petition” addressed the FDA’s standard

for evaluating the bioequivalence of ViroPharma’s antibiotic Vancomycin Hydrochloride

Capsules (“Vancocin”) – that is, the process for testing whether generic forms of Vancocin were

appropriately safe and effective to be approved for sale to the public. The FTC’s Complaint

openly acknowledges that ViroPharma’s citizen petition advocated that the FDA maintain the

same standard for evaluating bioequivalence that the FDA had previously employed for a

decade. The Complaint further acknowledges that the FDA evaluated ViroPharma’s citizen

petition for more than six years, during which time the FDA modified its initial policy position,

invited public comment, and convened two separate Advisory Committees comprised of

independent experts to evaluate the issue. Moreover, information that this Court may consider at

this stage, and which is referenced by the FTC in the Complaint, demonstrates that more than

two years after the second of the two Advisory Committees had convened, and only five months

before the FDA eventually denied ViroPharma’s citizen petition in 2012, the FDA publicly

acknowledged that it had yet to rule upon ViroPharma’s citizen petition due to the complex

scientific issues surrounding the bioequivalence standard. Nevertheless, nearly five years after




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the FDA denied ViroPharma’s petition and approved the sale of generic forms of Vancocin, the

FTC filed this action asserting that ViroPharma’s petitioning activity was anticompetitive.

       The Court should dismiss the FTC’s Complaint in its entirety for two reasons.

       First, the FTC has failed to plead facts necessary for it to invoke its limited authority

under section 13(b) of the FTC Act, 15 U.S.C. § 53(b), to seek an injunction in this Court rather

than pursue an administrative proceeding under section 5(b), 15 U.S.C. § 45(b). Congress

granted the FTC the ability to file an action in federal court pursuant to section 13(b) only in

limited circumstances where there is a need for immediate relief – in the express terms of the

statute, where the defendant “is violating” or “is about to violate” the law:

       Whenever the Commission has reason to believe . . . that any person, partnership,
       or corporation is violating, or is about to violate, any provision of law enforced
       by the [FTC] . . . the Commission . . . may bring suit in a district court of the
       United States to enjoin any such act or practice.

15 U.S.C. § 53(b) (emphasis added). However, no need for immediate relief has been pled here.

To the contrary, the FTC’s allegations confirm that the alleged conduct at issue ceased in 2012.

There is no allegation that ViroPharma is currently violating the law, or is about to do so. The

Complaint’s conclusory and speculative allegations about what ViroPharma “could do” in the

future, based upon what it allegedly did years ago, are insufficient as a matter of law.

       Second, the conduct that the FTC alleges is unlawful is Constitutionally-protected

petitioning activity that the Noerr-Pennington doctrine immunizes from prosecution under the

antitrust laws. The facts alleged in the Complaint, even if true, would not justify an exception to

the Noerr-Pennington doctrine. The FTC does not – and cannot – allege that ViroPharma’s

position was “objectively baseless.” The FTC’s resort to an exaggerated counting exercise –

adding up the individual filings in the citizen petition docket, and then double counting those

filings with parallel filings that ViroPharma made in a separate docket in which the FDA invited



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public comment – to suggest that ViroPharma engaged in a pattern of petitioning activity is

unavailing. Regardless of whether ViroPharma’s conduct is viewed as a single petition (as it

was) or a pattern (which it was not), the FTC has not alleged facts sufficient to meet its heavy

burden under Noerr-Pennington.

        Accordingly, the Complaint should be dismissed pursuant to Rules 12(b)(1) and 12(b)(6)

of the Federal Rules of Civil Procedure.

III.    CONCISE STATEMENT OF FACTS

        A.       The Parties And The Product

        ViroPharma previously owned and marketed Vancocin – an antibiotic used to treat

potentially fatal intestinal infections. Compl. ¶¶ 30-31. ViroPharma became an indirect wholly

owned subsidiary of Shire plc (“Shire”) in January 2014.1 The Complaint does not allege that

ViroPharma currently owns, manufactures or sells Vancocin.2

        B.       The FDA Approval Process

        New drugs are required to undergo extensive testing designed to ensure their safety and

efficacy.     Id. at ¶¶ 10-11.         The Hatch-Waxman Act allows the FDA, in appropriate

circumstances, to approve generic versions of previously-approved drugs without separate safety

and efficacy tests. Id. at ¶¶ 13-14. An applicant seeking regulatory approval to market a generic

version of a previously-approved drug must file an Abbreviated New Drug Application

(“ANDA”) with test results demonstrating that the proposed generic is “bioequivalent” to the

brand drug. Id.

1
       See     Shire     plc,     Jan.     24,  2014      Report    on     Form      8-K,     available   at
https://www.sec.gov/Archives/edgar/data/936402/000095010314000457/dp43313_8k.htm. The Court may take
judicial notice of Securities and Exchange Commission filings when deciding a motion to dismiss. See Oran v.
Stafford, 226 F.3d 275, 289 (3d Cir. 2000).
2
  In fact, ViroPharma divested all rights and interests in Vancocin to ANI Pharmaceuticals in August 2014. See
Shire plc, Oct. 24, 2014 Report on Form 8-K, available at:
https://www.sec.gov/Archives/edgar/data/936402/000095010314007381/dp50367_ex9901.htm.



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        Bioequivalence is a statutorily-defined term that means “the absence of a significant

difference in the rate and extent to which the active ingredient or active moiety in pharmaceutical

equivalents or pharmaceutical alternatives becomes available at the site of drug action . . . .”

See 21 C.F.R. § 320.1(e); Compl. ¶ 14. The appropriate study for establishing bioequivalence

depends on the nature of the product, the purpose of the study, and the analytical methods

available. Id. at ¶ 16. A gold standard for establishing bioequivalence has been in vivo clinical

endpoint studies, which directly test whether the potential generic alternative is equally

bioavailable at the site of action in a patient’s body. See 21 C.F.R. § 320.24(b) (describing in

vivo end point studies as having among the highest levels of “accuracy, sensitivity, and

reproducibility” of any method for “determining the bioavailability or bioequivalence of a drug

product”). But the FDA will permit the use of other methods for establishing bioequivalence in

appropriate cases. Id. Among the other types of studies that the FDA will permit in certain

circumstances is in vitro dissolution testing, which compares the rate at which the innovator drug

and potential generic dissolve in a solution.               See App. Ex. 3, Response of the FDA to

ViroPharma Inc.’s Citizen Petition, dated April 9, 2012 (“April 9, 2012 FDA Response”) at pp.

2-12 (referenced and relied upon in Compl. ¶ 104).3

        C.       Historic Bioequivalence Standards For Vancocin

        Vancocin is the brand name of vancomycin, a locally acting antibiotic that treats

infections of the gastrointestinal tract. Compl. ¶¶ 30-31. The drug is not absorbed into the

bloodstream, nor is it distributed systemically. Id. Given these unique characteristics, in 1996,

the FDA issued a product-specific guidance for Vancocin requiring in vivo clinical endpoint




3
 An Appendix of documents cited herein, all of which are referenced and relied upon in the Complaint, is submitted
herewith and cited as “App.”



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studies to establish bioequivalence (the “1996 Guidance”). Id. at ¶ 42; App. Ex. 3, April 9, 2012

FDA Response at pp. 22-23 (referenced and relied upon in Compl. ¶ 104).

       In 2006, information became publicly available that suggested that the FDA, without

providing public notice or the opportunity to comment, intended to assess bioequivalence of

generic Vancocin based on in vitro dissolution testing, in direct contravention of the in vivo

testing standard set forth in the 1996 Guidance. Compl. ¶ 47. The FDA’s change in position

was purportedly based on the FDA’s conclusion that Vancocin was “rapidly dissolving” – a

conclusion that the FDA later acknowledged was wrong in response to ViroPharma’s citizen

petition. See App. Ex. 3, April 9, 2012 FDA Response at pp. 11-13 (referenced and relied upon

in Compl. ¶ 104).

       D.      ViroPharma’s Petitioning Activity

               1.     Citizen Petition

       On March 17, 2006, ViroPharma exercised its right to petition the FDA under 21 C.F.R.

§ 10.25(a), which expressly permits any “interested person [to] petition the Commissioner to

issue, amend, or revoke a regulation or order, or to take or refrain from taking any other form of

administrative action” – referred to as a “citizen petition.” See 21 C.F.R. §§ 10.25(a); 10.30.

ViroPharma’s citizen petition requested that the FDA (1) stay the approval of any ANDA for

generic Vancocin capsules that did not comply with the bioequivalence standards from the 1996

Guidance, (2) explain the basis for its abrupt departure from its 1996 Guidance, and (3) provide

the opportunity for public comment on the appropriate standard. See App. Ex. 1, Citizen Petition

of ViroPharma Inc., dated March 17, 2006 (“Citizen Petition”) at pp. 1-3. In connection with

this petition, ViroPharma submitted a number of filings to the FDA directed to the FDA’s change

of policy. Many of these filings were either: (1) cross-filings of public comments submitted in




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response to guidance about which the FDA provided notice in 2008 and solicited comment4; (2)

formally memorialized points made in meetings with the FDA5 (on some occasions at the FDA’s

request); or (3) the presentations (or descriptions of presentations) ViroPharma made as part of

the Advisory Committee meetings in which the FDA solicited input and comments from the

public.6

           Despite regulations in effect when ViroPharma’s citizen petition was filed in 2006, which

required that the FDA respond to a citizen petition within 180 days, 21 C.F.R. § 10.30(e), the

FDA did not respond to ViroPharma’s citizen petition until April 9, 2012 – six years after it was

filed. See Compl. ¶ 104.

                    2.        Public Comment

           In July 2008, more than two years after ViroPharma filed its citizen petition, the FDA

convened a public meeting of an Advisory Committee to discuss bioequivalence methods for

locally-acting gastrointestinal drugs such as Vancocin. Id. at ¶ 70. At this public meeting,

ViroPharma presented its views, as did other companies that had filed applications with the FDA

for the approval of generic forms of Vancocin. Id. In December 2008, the FDA issued draft

guidance on the use of in vitro dissolution studies for generic Vancocin and solicited public

comment. Id. at ¶¶ 71-72. The fact that the FDA had abruptly changed its position with respect

to the bioequivalence standard for Vancocin in 2006, without promulgating draft guidance and

affording an opportunity for public comment, was one of the concerns ViroPharma had raised in



4
 See, e.g., March 18, 2009 (Compl. ¶ 75); May 18, 2009 (Compl. ¶ 79); July 31, 2009 (Compl. ¶ 83); October 6,
2009 (Compl. ¶ 89); November 25, 2009 (Compl. ¶ 90); December 2, 2009 (Compl. ¶ 91); December 18, 2009
(Compl. ¶ 92); January 15, 2010 (Compl. ¶ 93); March 25, 2010 (Compl. ¶ 94); June 25, 2010 (Compl. ¶ 98); July
20, 2010 (Compl. ¶ 100); December 22, 2010 (Compl. ¶ 101); November 21, 2011 (Compl. ¶ 102); and December
22, 2011 (Compl. ¶ 103) filings.
5
    See, e.g., January 11, 2008 (Compl. ¶ 65); and January 30, 2008 (Compl. ¶ 66) filings.
6
    See, e.g., October 6, 2009 (Compl. ¶ 89) filing.



                                                            6
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its citizen petition. See App. Ex. 1, Citizen Petition at p. 2 (cited in Compl. ¶ 54). In addition, in

issuing its draft guidance in December 2008, the FDA accepted other arguments ViroPharma

made in its citizen petition. In particular, the FDA agreed that Vancocin did not meet the

definition of “rapidly dissolving” pursuant to the Biopharmaceutics Classification System

(“BCS”) guidance, which had been the stated basis for the FDA’s policy change in 2006.

Compl. ¶¶ 58, 72; see also App. Ex. 3, April 9, 2012 FDA Response at pp. 12-13. Additionally,

instead of the wholesale acceptance of in vitro testing – the policy change that triggered

ViroPharma’s citizen petition – the FDA proposed that dissolution testing for determining

Vancocin bioequivalence should only be permitted where the inactive ingredients used in

proposed generic alternatives were both quantitatively and qualitatively identical (referred to as

“Q1Q2” sameness) to Vancocin. Compl. ¶¶ 70-72. Thus, nearly three years after ViroPharma

had filed its citizen petition, the FDA had again altered its position.

       In response to the 2008 draft guidance and the FDA’s invitation for public comment,

ViroPharma filed submissions addressing the FDA’s new proposal for evaluating

bioequivalence. At the prompting of the FDA, ViroPharma also filed its public comments in the

citizen petition docket. See App. Ex. 2, Supplemental Citizen Petition Filing of ViroPharma Inc.,

dated January 11, 2008 at p. 1 (noting, “FDA confirmed that transparency and process were

important to its mission, and FDA counsel requested that ViroPharma file the above-referenced

comments on the Draft [Bioequivalence] Guidance to the Vancocin docket”).

       In the summer of 2009, the FDA announced that it would once again convene an

Advisory Committee to discuss, among other topics, the FDA’s dissolution guidance for generic

Vancocin. Compl. ¶ 80. In preparation for this meeting, both ViroPharma and the FDA outlined

their positions about the appropriateness of dissolution testing as a method for assessing




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bioequivalence. Id. at ¶¶ 81-84. On August 4, 2009, the Advisory Committee convened, and by

unanimous vote, advised the FDA of its view that in vitro dissolution testing could be used to

establish bioequivalence to Vancocin if the proposed generic was Q1Q2 the same as Vancocin

and certain other conditions were met. Id. at ¶ 85. The FDA did not rule upon ViroPharma’s

citizen petition until more than two and a half years later.

                   3.   Freedom Of Information Act Requests

        In parallel with its citizen petition, ViroPharma made two requests to the FDA under the

Freedom of Information Act (“FOIA”) – one in March 2006 (after the FDA’s initial policy

change) and another in December 2008 (following the promulgation of the FDA’s draft

guidance). Compl. ¶ 110. In so doing, ViroPharma sought to obtain additional information

about the FDA’s proposed changes to the bioequivalence standard for Vancocin. Because the

FDA did not respond fully to ViroPharma’s request in its FOIA production, in December 2008,

ViroPharma was required to file suit to compel FDA’s compliance. See ViroPharma Inc. v.

HHS, No. 1:08-cv-02189-PLF (D.D.C. Dec. 16, 2008). The FDA continued to resist complying

with ViroPharma’s FOIA request for nearly four years, with the FDA’s most significant

document productions not occurring until 2010. Compl. ¶¶ 110-12. In March 2012, the district

court ruled in ViroPharma’s favor, ordering the FDA to supplement its FOIA disclosures with

additional information about the documents it withheld from its production. Id. at ¶ 112.

Following the FDA’s compliance with the district court’s order, ViroPharma promptly withdrew

its lawsuit. Id.

                   4.   Precose Lawsuit

        In 2010, ViroPharma filed a declaratory judgment action relating to the FDA’s approval

of an ANDA for a different locally acting gastrointestinal product, Precose. Precose was not a

ViroPharma product, but the standard applied by the FDA in approving the ANDA bore directly


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on the Vancocin bioequivalence standard that was at issue in ViroPharma’s citizen petition.

ViroPharma Inc. v. Hamburg¸ No. 1:10-cv-01529-ESH (D.D.C. Sept. 10, 2010); Compl. ¶ 108.

During the course of the litigation, the FDA admitted in court filings in November 2010 – more

than four and a half years after ViroPharma submitted its citizen petition – that it still had not

decided whether dissolution testing was sufficient to establish bioequivalence for proposed

generic versions of Vancocin.     The FDA also stated it was possible that it would accept

ViroPharma’s arguments that in vivo clinical endpoint testing should be required (as was the

FDA’s policy before 2006), and that no ANDA for generic forms of Vancocin had yet been

approved. See FDA’s Mot. to Dismiss at 11-12, ViroPharma Inc. v. Hamburg¸ No. 1:10-cv-

01529-ESH (D.D.C. Nov. 12, 2010) (D.I. No. 13) (“[T]he agency’s recommendations for

vancomycin hydrochloride remain a work in progress. . . . FDA [is continuing] to evaluate its

draft recommendation for the appropriate bioequivalence methodology for vancomycin

hydrochloride.”) (footnotes and citations omitted). Relying on the FDA’s representations, the

district court concluded that ViroPharma lacked standing to challenge the FDA approval of the

Precose ANDA. Compl. ¶ 114.

       Similarly, in a November 21, 2011 filing with the United States Court of Appeals for the

District of Columbia Circuit, more than five years after ViroPharma filed its citizen petition and

two years after the 2009 Advisory Committee meeting, the FDA told the Court of Appeals that it

was still considering whether in vivo testing should be required.         Specifically, the FDA

represented that it “ha[d] not yet made a decision on any of the [ANDAs] for vancomycin.” See

Br. for Appellees at 36, Viropharma, Inc. v. Hamburg, No. 11-5143 (D.C. Cir. Nov. 21, 2011)

(Doc. No. 1343328). Confirming the importance of the issues raised by ViroPharma’s citizen

petition, the FDA explained: “Whether FDA will ultimately approve an application will depend




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on, among other things, complex, scientific determinations relating to the appropriate testing to

demonstrate bioequivalence . . . .” Id.

        On April 9, 2012, the FDA finally decided ViroPharma’s citizen petition. Compl. ¶ 104.

On the same day, the FDA approved three ANDAs, as a result of which generic versions of

Vancocin have been on the market for the past five years. Id. at ¶¶ 107, 140. ViroPharma is not

alleged to have submitted any supplements to its 2006 citizen petition, or filed any other citizen

petitions, since.

IV.     LEGAL STANDARD

        Dismissal pursuant to Federal Rule of Civil Procedure 12(b)(6) is appropriate if the

complaint fails to allege “enough facts to state a claim to relief that is plausible on its face.” Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). While the Court must accept the complaint’s

well-pleaded facts as true, it may wholly “disregard any legal conclusions.” Fowler v. UPMC

Shadyside, 578 F.3d 203, 210-11 (3d Cir. 2009). “In deciding a Rule 12(b)(6) motion, a court

. . . consider[s] only the complaint, exhibits attached to the complaint, matters of public record,

as well as undisputedly authentic documents . . . .” Hartig Drug Co. Inc. v. Senju Pharm. Co.

Ltd., 836 F.3d 261, 268 (3d Cir. 2016) (citation omitted).

        Further, the plaintiff bears the burden of establishing the court’s jurisdiction. See id. at

272 n.14. Dismissal pursuant to Rule 12(b)(1) is appropriate if the complaint fails to allege facts

that “plausibly suggest that the pleader has the right he claims (here, the right to jurisdiction),

rather than facts that are merely consistent with such a right.” In re Schering Plough Corp.

Intron/Temodar Consumer Class Action, 678 F.3d 235, 244 (3d Cir. 2012) (citation omitted).




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V.     ARGUMENT

       A.      The FTC Has Failed To Plead Facts Necessary To Invoke Its Limited
               Authority Under Section 13(b).

       The FTC’s power to act is limited to the statutory authority delegated to it by Congress.

See Zola v. Interstate Commerce Comm’n, 889 F.2d 508, 515 (3d Cir. 1989) (“The [FTC] is an

administrative body possessing only such powers which are granted by statute.” (quoting Arrow-

Hart & Hegeman Elec. Co. v. FTC, 291 U.S. 587, 598 (1934))). The FTC brings this action

pursuant to section 13(b) of the FTC Act. See Compl. ¶ 7. Section 13(b), however, only grants

the FTC authority to file suit in federal court where a defendant is violating, or is about to violate

the law. 15 U.S.C. § 53(b). In other words, to invoke the jurisdiction of this Court under section

13(b), the FTC must plead facts demonstrating either an ongoing or imminent violation of the

law.

       Here, the FTC has done nothing of the sort. The FTC does not allege that ViroPharma

“is” violating the law; rather, the Complaint pleads that the conduct at issue ceased in 2012. The

FTC also does not allege that ViroPharma “is about to” violate the law, much less plead facts

that would support such a conclusion. Accordingly, the Complaint should be dismissed pursuant

to Rule 12(b)(1) because the FTC does not have the authority to invoke the Court’s jurisdiction,

and Rule 12(b)(6) because the Complaint fails to allege facts sufficient to state a claim.

               1.      The FTC’s Section 13(b) Authority To Seek An Injunction In Federal
                       Court Is Expressly Limited To The Need to Address An Ongoing Or
                       An Imminent Future Violation Of Law.

       In construing section 13(b), the Court need look no further than the plain language of the

statute. See Rosenberg v. XM Ventures, 274 F.3d 137, 141 (3d Cir. 2001) (“Because it is

presumed that Congress expresses its intent through the ordinary meaning of its language, every

exercise of statutory interpretation begins with an examination of the plain language of the



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statute. Where the statutory language is plain and unambiguous, further inquiry is not required.”

(citations omitted)). Where, as here, Congress uses the present and future tense, the statute must

be construed as reaching only those acts that are ongoing or will occur in the future, but not acts

that were completed in the past. See, e.g., Nat. Res. Def. Council, Inc. v. Texaco Refining &

Marketing, Inc., 2 F.3d 493, 498 (3d Cir. 1993) (“[T]he undeviating use of the present tense

strongly suggests . . . the harm sought to be addressed . . . lies in the present or the future, not in

the past.” (quoting Gwaltney of Smithfield, Ltd. v. Chesapeake Bay Found., Inc., 484 U.S. 49, 59

(1987)); see also Dictionary Act, 1 U.S.C. § 1 (“In determining the meaning of any Act of

Congress, . . . words used in the present tense include the future as well as the present.”).

         The conclusion that section 13(b) authorizes the FTC to seek injunctive relief addressing

only ongoing or imminent future conduct is also compelled by the statutory structure of the FTC

Act. Section 5 of the FTC Act proscribes as unlawful “[u]nfair methods of competition in or

affecting commerce.” 15 U.S.C. § 45(a)(1). As relevant here, when faced with what it believes

to be a violation of section 5, the FTC may proceed in one of two ways, depending upon whether

the alleged conduct at issue occurred in the past, is still ongoing, or is about to happen. First, in

the case of past or ongoing alleged conduct, under section 5(b), the FTC may initiate

administrative proceedings against a party that the FTC has reason to believe “has been or is

using” an unfair method of competition. 15 U.S.C. § 45(b) (emphasis added).7 Second, in the

case of ongoing or imminent future conduct, under section 13(b), where the FTC has reason to

believe that an entity “is violating, or is about to violate” a provision of law enforced by the FTC



7
  In the event that a violation is found and upheld by the Commission, subject to the right of the defendant to appeal
to the federal Courts of Appeal, section 5 gives the FTC the power to issue a cease and desist order and, if necessary,
to later enforce that order in district court. See 15 U.S.C. § 45(l) (“[T]he United States district courts are empowered
to grant mandatory injunctions and such other and further equitable relief as they deem appropriate in the
enforcement of . . . final orders of the Commission.”).



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(including section 5), the FTC may file suit in federal court seeking to enjoin the ongoing or

imminent violation. 15 U.S.C. § 53(b) (emphasis added).

         That sections 5(b) and 13(b) serve wholly separate purposes is consistent with how the

FTC has construed its statutory authority in the merger context. There, the FTC institutes section

5(b) administrative proceedings to review the legality of a proposed merger under the antitrust

laws, and typically simultaneously seeks an injunction under section 13(b) in federal district

court to block the merger pending completion of the administrative review.8 Indeed, the FTC

itself repeatedly has referred to its pursuit of injunctive relief under section 13(b) as a measure

intended to “preserve the status quo.”9

         Although it is not necessary to consider legislative history given the unambiguous terms

of the statute, there is no doubt that Congress intended what it wrote. Before 1973, the FTC

lacked the authority to initiate a civil proceeding of any kind in federal court with respect to

alleged anticompetitive conduct. Its only procedural avenue was an administrative proceeding.

See United States v. JS & A Group, Inc., 716 F.2d 451, 452 (7th Cir. 1983). Given the protracted

nature of the administrative process, however, section 5 was widely criticized at the time as

inadequate.10 In 1973, Congress addressed this problem by enacting section 13(b). See Pub. L.

No. 93-153, § 408, 87 Stat. 592 (1973). As explained in a preceding Senate report, “[t]he

purpose of [section 13(b)] is to permit the Commission to bring an immediate halt to unfair or


8
 See, e.g., Br. of the FTC at 2-3, FTC v. Penn State Hershey Med. Ctr., No. 16-2365 (3d Cir. June 1, 2016) (Doc.
No. 003112313990) (describing the FTC’s administrative complaint to block the merger of two hospital systems
while, “[i]n the meantime, the FTC . . . asked the district court . . . to issue a preliminary injunction preventing the
merger from closing before the administrative adjudication is complete”).
9
  See, e.g., Pl.’s Mem. of Points and Authorities in Opp’n to Def.’s Mot. for a Scheduling Order and an Expedited
Status Conference at 3-4, FTC v. Inova Health Sys. Found., No. 1:08-cv-00460-CMH-JFA (E.D. Va. May 20, 2008)
(D.I. No. 11) (describing the FTC’s decision to proceed under § 13(b) as “inherently limited in scope” and intended
to “preserve the status quo until the FTC can perform its function”) (citations omitted).
10
  See, e.g., David O. Bickart, Civil Penalties under Section 5(m) of the Federal Trade Commission Act, 44 U. Chi.
L. Rev. 761, 762-63 (1977).



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deceptive acts or practices when . . . . [a]t the present time such practices might continue for

several years until agency action is completed.” S. Rep. No. 93-151, at 30-31 (1973).11

        Thus, the FTC Act’s plain language, structure, and legislative history establish

conclusively that the FTC has no authority to pursue a federal court action in connection with

conduct that occurred in the past. See FTC v. Evans Prods. Co., 775 F.2d 1084, 1089 (9th Cir.

1985) (“[T]he statutory language, legislative history, and cases indicate that § 13(b) may not be

used to remedy a past violation that is not likely to recur.”).

                 2.       The Complaint Concedes That All Of The Challenged Conduct
                          Occurred In The Past And The FTC Has Not Alleged That
                          ViroPharma “Is” Violating, Or “Is About To” Violate, The Law.

        Here, exclusively invoking section 13(b), the FTC asks this Court to grant equitable relief

based upon alleged conduct that the FTC itself acknowledges ceased long ago. The Complaint

expressly alleges that the conduct at issue began in 2006 and concluded in 2012. See Compl.

¶ 49 (alleging conduct “[b]etween March 2006 and April 2012”); id. at ¶ 118 (“ViroPharma’s

petitioning lasted over six years.”). Nowhere does the FTC allege that ViroPharma is currently

engaged in any illegal conduct or that it “is about to” violate the law. That should end the

inquiry.

        At most, the Complaint alleges that ViroPharma could engage in anticompetitive conduct

in the future. The Complaint’s allegations on the subject are limited to two short paragraphs:

        Absent an injunction, there is a cognizable danger that ViroPharma will engage in
        similar conduct causing future harm to competition and consumers. . . .

Compl. ¶ 150.


11
  The FTC itself explained at the time that it was seeking the power to enjoin ongoing violations of law. See 119
Cong. Rec. S21,445 (explaining that, in § 13(b), the FTC sought “the statutory authority to seek directly in the
federal district courts preliminary injunctions against the continuance of anticompetitive conduct”) (letter from
Ronald M. Dietrich, General Counsel of the FTC, to Sen. Henry M. Jackson, Chairman, Committee on Interior and
Insular Affairs).



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       ViroPharma has the incentive and opportunity to continue to engage in similar
       conduct in the future. At all relevant times, ViroPharma marketed and developed
       drug products for commercial sale . . . and it could do so in the future.
       Consequently, ViroPharma has the incentive to obstruct or delay competition to
       these or other products.

Id. ¶ 151.

       Even if these allegations were true, they would not be sufficient to trigger the FTC’s

authority to file suit in federal court under section 13(b) because they say nothing about what

ViroPharma is doing or is about to do. Moreover, these conclusory and speculative allegations

about what ViroPharma “could do” in the future would be insufficient to support an injunction

even if the FTC had the authority to bring this action. See United States v. W.T. Grant Co., 345

U.S. 629, 633 (1953) (a permanent injunction is appropriate where the moving party shows that

“there exists some cognizable danger of recurrent violation, something more than the mere

possibility which serves to keep the case alive”); see also In re Plavix Indirect Purchaser

Antitrust Litig., No. 1:06-cv-226, 2011 WL 335034, at *4 (S.D. Ohio Jan. 31, 2011) (“[M]ere[]

speculat[ion] that Defendants’ previous behavior . . . leads to the assumption that Defendants

will engage in [similar behavior in the future]” is insufficient to survive a motion to dismiss);

FTC v. Home Assure, LLC, No. 8:09-cv-547-T-23TBM, 2009 WL 1043956, at *20 (M.D. Fla.

Apr. 16, 2009) (the FTC’s showing of an anticipated future violation must “rise above a

speculative level”). By parroting the “cognizable danger” language from W.T. Grant Co., the

FTC offers only a “formulaic recitation” of one of the elements it would be required to satisfy in

order to obtain injunctive relief, which is patently insufficient to meet its pleading burden. See,

e.g., Hydrogen Master Rights, Ltd. v. Weston, No. 16-474-RGA, 2017 WL 78582, at *7 (D. Del.

Jan. 9, 2017).

       FTC v. Merchant Services Direct, LLC, No. 2:13-cv-00279-TOR, 2013 WL 4094394

(E.D. Wash. Aug. 13, 2013), is instructive. There, the FTC alleged that the defendants had


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violated the FTC Act by misrepresenting the quality and price of the credit card processing

services they offered to merchants. As here, all of the FTC’s allegations concerned past conduct.

Id. at *3. The FTC sought to premise its right to relief on the allegation that “[a]bsent injunctive

relief . . . defendants are likely to continue to injure consumers, reap unjust enrichment, and harm

the public interest.” See Compl. ¶ 40, No. 2:13-cv-00279-TOR (E.D. Wash. July 30, 2013) (D.I.

No. 1). The court denied the FTC’s request for injunctive relief, reasoning that the FTC had

taken as a “foregone conclusion” that future violations would occur, but had proffered only

“substantially outdated” and “stale” information concerning such alleged risk. Merch. Servs.

Direct, 2013 WL 4094394, at *3.

       Similarly, in Home Assure, the FTC sought injunctive relief under section 13(b) based on

allegations that the defendants had falsely promised customers that, in exchange for fees, they

could help the customers avoid foreclosure. Home Assure, 2009 WL 1043956, at *17. Again,

the FTC’s factual allegations solely concerned acts in the past. Id. Nevertheless, without

elaboration or any factual predicate, the FTC asserted that the defendants were “reasonably

likely” to engage in similar misconduct in the future. Id. at *20. In denying the FTC’s request

for injunctive relief, the court found that the FTC’s assertions “fail[ed] to rise above a

speculative level.” Id.

       These cases compel the conclusion that the FTC cannot establish a cognizable danger of

an imminent violation of law merely by alleging past misconduct and asserting that history could

repeat itself. As this Court recently recognized, allegations of fully completed conduct alone are

insufficient to establish a right to seek an injunction. See XpertUniverse, Inc. v. Cisco Sys., Inc.,

No. 09-157-RGA, 2013 WL 6118447, at *12 (D. Del. Nov. 20, 2013) (“[A]n injunction is by

definition a prospective remedy.”).




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                3.      The Complaint’s Conclusory Allegations That a Future Violation
                        “Could” Occur Is Refuted by the Facts Pled, A Change in the Law,
                        And The FDA’s Reports to Congress.

        Not only has the FTC failed to plead that a future violation is imminent, but there is

ample basis for the Court to conclude at the Rule 12 stage that there is no plausible basis to

believe that a future violation is likely to, or even could, occur. The FTC’s allegations relate to

one specific product (Vancocin) and principally to one specific issue (the unique testing required

to establish bioequivalence for Vancocin). There is no basis to conclude that ViroPharma will

file any citizen petition in the future relating to Vancocin or the methodology used to assure the

safety of its generic alternatives. To the contrary, Vancocin has faced generic competition since

April, 2012, Compl. ¶ 107, no citizen petitions are alleged to have been filed relating to that

product in the ensuing five years, and ViroPharma no longer owns the rights to the product.12

        Nor is there any basis to conclude that ViroPharma is predisposed to file an allegedly

baseless citizen petition with respect to any other product or any other issue. ViroPharma is not

alleged to have filed a single citizen petition (objectively baseless or not) with respect to any

other product or issue during the six-year period that its Vancocin petition was pending, or in the

five years since. After the alleged conduct at issue ceased, ViroPharma was acquired by and is

now a wholly-owned subsidiary of Shire;13 and, there is no allegation that any of the relevant

individual decision makers at ViroPharma during the period at issue are still at the company or

have the authority to direct the filing of citizen petitions with the FDA.

        Moreover, and most significantly, the governing FDA statute was amended in 2007 to

eliminate the risk of the very type of harm – delayed generic approvals as a result of citizen

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  See Shire plc, Oct. 24, 2014 Report on Form 8-K, available at:
https://www.sec.gov/Archives/edgar/data/936402/000095010314007381/dp50367_ex9901.htm.
13
  See Shire plc, Jan. 24, 2014 Report on Form 8-K, available at:
https://www.sec.gov/Archives/edgar/data/936402/000095010314000457/dp43313_8k.htm.



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petitions – that is the FTC’s ostensible purpose for bringing this action and for seeking the

requested injunction.         In 2007, Congress amended the provisions of the Food, Drug, and

Cosmetic Act (“FDC Act”) that govern the FDA’s approval of applications to market generic

drugs.14 Compl. ¶¶ 21-23. The amendments added Section 505(q), 21 U.S.C. § 355(q), which

provides that the FDA “shall not delay approval of a pending application . . . because of any

request to take any form of action . . . unless . . . the [FDA] determines . . . that a delay is

necessary to protect the public health.” Id. at (q)(1)(A)(ii). Section 505(q) provides further that

the FDA may summarily deny a petition if it determines that the petition was submitted with the

“primary purpose of delaying the approval of an application and . . . does not . . . raise valid

scientific or regulatory issues.” Id. at (q)(1)(E).

           By virtue of these 2007 amendments, any citizen petition that ViroPharma might file in

the future would not and could not pose a cognizable threat of improperly delaying generic

approval. Notably, section 505(q) requires the FDA to report annually to Congress regarding the

number of new generic drug applications the FDA approves and identify any delays resulting

from the filing of citizen petitions. See id. at (q)(3). The FDA has published eight reports

containing such data.15 Those reports disclose that, from 2008 to 2015 – all of the years for

which data is available – the FDA approved a total of 4,008 ANDAs and 505(b)(2)

applications.16 Of those 4,008 applications, the FDA has only identified seven instances in


14
     See FDC Act, Pub. L. No. 110-85, 121 Stat. 954 (2007).
15
  See App. Ex. 4. The Court may appropriately consider the FDA reports in resolving this motion to dismiss, both
because the reports are referenced in the complaint, see Compl. ¶ 23; Astrazeneca Pharms. LP v. Apotex Corp., Nos.
10-338 et seq. (RBK/KW), 2010 WL 5376310, at *9 (D. Del. Dec. 22, 2010) (citing In re Burlington Coat Factory
Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997)), and because as publicly-available reports of a government agency,
the FDA reports are subject to judicial notice, see Starks v. Coloplast Corp., No. 13-3872, 2014 WL 617130, at *1
n.3 (E.D. Pa. Feb. 18, 2014) (FDA reports specifically); Pension Benefit Guar. Corp. v. White Consol. Indus., Inc.,
998 F.2d 1192, 1197 (3d Cir. 1993) (published reports of administrative bodies generally).
16
  505(b)(2) applications are applications for new drugs that rely on safety and efficacy tests performed in relation to
other reference listed drugs, rather than directly on or for the applicant’s products. See 21 U.S.C. § 355(b)(2).



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which ANDA approvals were delayed due to a citizen petition (excluding two ANDAs that were

delayed because of citizen petitions filed by the ANDA filer itself, and one where the generic

was enjoined from launching). That is just 0.175% of all approved applications during the eight-

year reporting period. In each instance, the FDA reported to Congress that the delay was

necessary to “protect public health,” or used similar language. See App. Ex. 4, FDA Reports to

Congress for Fiscal Years 2008-2015. The FDA has not reported any instances of delay caused

by an objectively baseless citizen petition, and it has been abundantly clear since 2007 at the

latest that the FDA has both the power and a statutory responsibility to avoid such a result.17

                  4.       The FTC’s Specific Prayer For Relief Further Demonstrates That The
                           FTC Has Exceeded Its Section 13(b) Authority.

         Finally, the FTC’s broad, general request for an injunction in the Complaint’s prayer for

relief – that ViroPharma be “permanently enjoined from engaging in similar and related conduct

in the future” – confirms the complete lack of any basis to conclude that ViroPharma “is

violating” or is “about to violate” the law. First, the fact that the FTC seeks only to enjoin

ViroPharma from conduct “in the future,” rather than cease some activity that is occurring now,

underscores that there is no ongoing violation alleged in the Complaint. Second, the complete

lack of any specificity in the FTC’s prayer for relief confirms that the FTC has failed to plead the

existence of a specific violation that is “about to” happen.

         Indeed, given the absence of any specific ongoing or threatened violation, it is difficult to

envision any injunction that this Court could issue that would satisfy Rule 65. See Fed. R. Civ.


17
   In its reports, the FDA expresses a generalized concern about the impact that its responsibility to decide citizen
petitions has on its ability to discharge its other statutory obligations. See, e.g., App. Ex. 4, FDA Report for FY
2013 at p. 7. Such concerns about the adequacy of the FDA’s resources and how it should prioritize its work cannot
be addressed through this lawsuit. Notably, in amending the FDC Act to include section 505(q), Congress chose not
to limit the ability of pharmaceutical companies and others to petition the FDA, but rather to impose upon the FDA
the responsibility of deciding those petitions promptly and to make it clear that the FDA has the authority to approve
ANDAs regardless of whether a citizen petition is resolved, unless necessary to protect the public health.



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P. 65(d)(1) (every order granting an injunction must “state its terms specifically; and describe in

reasonable detail . . . the act or acts restrained or required”); see also Louis W. Epstein Family

P’ship v. Kmart Corp., 13 F.3d 762, 771 (3d Cir. 1994). That concern is particularly important

here, because the conduct that the FTC targets is Constitutionally-protected petitioning activity

and there is a heavy presumption against prior restraints.18

         B.       ViroPharma’s Alleged Conduct Is Immune From Antitrust Challenge
                  Pursuant To The Noerr-Pennington Doctrine.

         Separately and independently, the Complaint must be dismissed for failure to state a

claim, because the petitioning conduct at issue is immune from prosecution under the antitrust

laws.

         “Those who petition [the] government for redress are generally immune from antitrust

liability.” Prof’l Real Estate Inv’rs Inc. v. Columbia Pictures Indus., Inc., 508 U.S. 49, 56

(1993) (“PRE”). This immunity, which is called the Noerr-Pennington doctrine based on the

two cases that first recognized and articulated it, is grounded in the First Amendment’s right to

petition the government. See E. R.R. Presidents Conference v. Noerr Motor Freight, Inc., 365

U.S. 127, 135 (1961) (holding, “no violation of the [Sherman] Act can be predicated upon mere

attempts to influence the passage or enforcement of laws”); United Mine Workers of Am. v.

Pennington, 381 U.S. 657, 670 (1965) (explaining that “Noerr shields from the Sherman Act a

concerted effort to influence public officials regardless of intent or purpose”). Noerr-Pennington

immunity covers and protects the forms of petitioning the FTC challenges here: requests for

administrative action and litigation. See Cal. Motor Transp. Co. v. Trucking Unlimited, 404 U.S.


18
   See United States v. Bell, 414 F.3d 474, 478 (3d Cir. 2005) (“Permanent injunctions [barring speech] . . . are
‘classic examples of prior restraints’ . . . .” (quoting Alexander v. United States, 509 U.S. 544, 550 (1993))); Grove
Press Inc. v. City of Phila., 418 F.2d 82, 89 (3d Cir. 1969) (“[P]rior restraint upon speech suppresses the precise
freedom which the First Amendment sought to protect . . . . [and] bear[s] a heavy presumption against . . .
constitutional validity.” (citations and internal quotation marks omitted)).



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508, 510 (1972). The Constitutional deference owed to petitioning activity is particularly broad

in the context of administrative proceedings, such as the citizen petition process. See, e.g., In re

DDAVP Direct Purchaser Antitrust Litig., 585 F.3d 677, 686 (2d Cir. 2009).

       There is a narrow exception to Noerr-Pennington immunity that arises where the

petitioning activity “ostensibly directed toward influencing governmental action . . . is a mere

sham to cover what is actually nothing more than an attempt to interfere directly with the

business relationships of a competitor.” Noerr, 365 U.S. at 144. For purposes of this so-called

“sham” exception, the central question is whether a party uses the process of petitioning the

government, as opposed to the outcome of that process, to harm a competitor. PRE, 508 U.S. at

60-61. A plaintiff seeking to rely on the exception “bears the burden of demonstrating that the

challenged conduct was a sham.” Trs. of Univ. of Pa. v. St. Jude Children’s Research Hosp., 940

F. Supp. 2d 233, 245 (E.D. Pa. 2013). The FTC has not pled a basis to apply the exception here.

               1.      The Standard For Pleading A “Sham” Is An Objective Standard.

       The standard for evaluating whether petitioning is a sham is an objective one. The

subjective motivations of the Defendant to harm competitors or competition are irrelevant if the

petition or petitions were instituted with “probable cause” to believe that there was some (even if

small) chance of success. See PRE, 508 U.S. at 62 (“The existence of probable cause to institute

legal proceedings precludes a finding that an antitrust defendant has engaged in sham

litigation.”); Cal. Motor Transp., 404 U.S. at 512-13 (noting that a pattern of filing baseless

lawsuits may be considered a sham, even if some proceedings prove to have some merit, if the

overall pattern is to institute proceedings “without probable cause”). Probable cause to institute

civil proceedings requires no more than a “reasonabl[e] belie[f] that there is a chance that [a]

claim may be held valid upon adjudication.” PRE, 508 U.S. at 62-63 (quoting Hubbard v. Beatty

& Hyde, Inc., 343 Mass. 258, 262 (1961) (alterations in original)). The “probable cause”


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determination is inherently objective: the question is whether a “reasonable litigant” might

believe there is a “chance of success,” rather than the subjective belief of the defendant.

         The sham standard has been applied in slightly different ways depending upon whether

the case involves a single proceeding or a pattern of petitions. When only a single proceeding is

alleged to harm competition, Noerr-Pennington immunity applies unless the proceeding is

“objectively baseless in the sense that no reasonable litigant could realistically expect success on

the merits.” Id. at 60 (emphasis added). In pattern cases, courts have looked to whether there is

a “pattern of baseless, repetitive” legal proceedings that “effectively bar[]” competitors from

meaningful access to adjudicating tribunals, even if some of the proceedings prove to have some

merit. Cal. Motor Transp., 404 U.S. at 513.19 Applying California Motor Transport, courts

have held that it is not necessary in a pattern case to establish that every one of the proceedings

was objectively baseless. See, e.g., Hanover 3201 Realty, LLC v. Village Supermarkets Inc., 806

F.3d 162, 181 (3d Cir. 2015). However, it is still necessary to plead and prove that the overall

pattern lacked objective reasonableness, i.e., that the challenged proceedings overall were

instituted “without probable case.” See PRE, 508 U.S. at 58 (discussing Cal. Motor Transp., 404

U.S. at 512-13).

         The Third Circuit addressed the circumstances in which a pattern of baseless, repetitive

proceedings may constitute a “sham” in Hanover 3201 Realty, a case arising from efforts by a


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   In California Motor Transport, a group of trucking companies was alleged to have sought to drive “their
competitors, including plaintiff, out of business [and] weakening such competitors” by instituting dozens of state
and federal proceedings challenging licensing requests by the plaintiffs and other potential competitors. 404 U.S. at
511. The plaintiffs alleged that the process of responding to this multiplicity of proceedings was so onerous that
“the machinery of the agencies and the courts was effectively closed to” them. Id. The Supreme Court made clear
that harassment by lawsuit and administrative proceedings would lose its constitutional protection and be subject to
antitrust challenge if it was used effectively to deprive competitors of their First Amendment rights to petition the
government: “A combination of entrepreneurs to harass and deter their competitors from having ‘free and unlimited
access’ to the agencies and courts, to defeat that right by massive, concerted, and purposeful activities of the group
are ways of building up one empire and destroying another. . . . If these facts are proved, a violation of the antitrust
laws has been established.” Id. at 515.



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supermarket chain to obstruct construction of a competing supermarket. 806 F.3d at 166. There,

the defendant initiated several different administrative proceedings and lawsuits against the real

estate developer for the entering supermarket challenging various permits that had been sought

and received by the developer.      Id. at 167-70 (describing challenges to an already issued

environmental permit, to requested wetlands and street permits, and a lawsuit challenging a

zoning decision). The real estate developer was forced to defend against this “multifaceted”

attack at great cost and inconvenience. Id. at 168.

       Construing California Motor Transport, the Third Circuit held that “sham petitioning”

may be found if “a series of petitions were filed with or without regard to merit and for the

purpose of using the governmental process (as opposed to the outcome of that process) to harm a

market rival and restrain trade.” Id. at 180. Although there are subjective aspects of this

standard, the Third Circuit made clear that the central focus of the inquiry must be on whether

the proceedings were “objectively baseless”:

       If more than an insignificant number of filings have objective merit, a defendant
       likely did not have a policy of filing ‘willy-nilly without regard to success.’ A
       high percentage of meritless or objectively baseless proceedings, on the other
       hand, will tend to support a finding that the filings were not brought to redress any
       actual grievances.

Id. at 181 (citations omitted).

       Here, although the FTC clearly seeks to position this as a “pattern” case, it plainly is not.

ViroPharma only initiated a single citizen petition proceeding.         As discussed below, the

Complaint’s running count of filings made in that citizen petition proceeding – and the

Complaint’s inclusion in its count ViroPharma’s public comments, FOIA requests, and lawsuits

that could not have affected the timing of ANDA approval unless they were granted – are both

misleading and legally irrelevant. Therefore, the PRE standard governs the FTC’s allegations,




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and the FTC has not pled and cannot plead a basis for application of the sham exception in this

case.

        Even if this was a “pattern” case (it is not) and the California Motor Transport standard

applied, the same result must follow. The FTC has not alleged facts that, if true, would establish

that any relevant “proceeding” by ViroPharma was objectively without merit, much less that the

entire course of its conduct was objectively baseless.

               2.        The FTC Has Not Alleged That The Challenged Proceedings Were
                         Objectively Baseless.

        First, the Complaint does not contain a single allegation that ViroPharma’s citizen

petition or any single filing that it made was “objectively baseless,” much less – if viewed as a

pattern – that a “high percentage” of the proceedings were “meritless or objectively baseless” or

that the proceedings overall were “objectively baseless.”       In fact, the phrase “objectively

baseless” does not appear anywhere in the Complaint. This defect alone should be dispositive

at the pleading stage.

        Not only does the Complaint fail to allege objectively baseless petitioning expressly, but

the facts alleged refute such a conclusion. As the Complaint acknowledges, the clearly stated

goal of ViroPharma’s citizen petition was to “require generic applicants to conduct clinical

endpoint studies” for Vancocin ANDA applications. Compl. ¶ 120. The FDA required in vivo

clinical end point studies to assess bioequivalence for generic Vancocin capsules from 1996 until

2006, because Vancocin is a locally acting oral product with a site of action in the

gastrointestinal tract. Id. at ¶ 43. ViroPharma simply sought (1) to maintain the status quo FDA

policy, and (2) an explanation for the FDA’s sudden change in policy in 2006. See App. Ex. 1,

Citizen Petition at pp. 1-3. Although ViroPharma ultimately did not convince the FDA to

maintain its prior bioequivalence standard, the FTC has not alleged – and cannot allege – that the



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citizen petition lacked objective merit. Indeed, the objective reasonableness of ViroPharma’s

petition is made plain by the FDA’s own actions and public statements.

       First and foremost, ViroPharma advocated in favor of a bioequivalence standard that the

FDA had used for a decade. Furthermore, as the FDA itself acknowledged, the bioequivalence

standard presented complex scientific issues that were not easily decided. As a result, despite a

regulatory requirement to respond to the petition within 180 days, the FDA considered

ViroPharma’s citizen petition for more than six years. In July 2008, more than two years after

ViroPharma had filed its petition, the FDA convened an independent Advisory Committee of

experts to evaluate the bioequivalence standard for locally-acting gastrointestinal drugs, like

Vancocin. Compl ¶ 70. Six months later, in December 2008, the FDA issued draft guidance

regarding the Vancocin bioequivalence standard in which it revised its initial policy change in

favor of a Q1Q2 dissolution standard and invited public comment. Id. at ¶¶ 71-72. In the

summer of 2009, FDA convened yet another independent Advisory Committee to evaluate its

recently-proposed draft guidance. Id. at ¶¶ 80-85. Although the Advisory Committee voted in

favor of the draft guidance in August 2009, FDA still did not act on ViroPharma’s citizen

petition. Rather, it continued to deliberate. In November 2010, the FDA stated in court filings

that its assessment of the bioequivalence standard “remain[ed] a work in progress” and that its

evaluation was still on-going.    See FDA’s Mot. to Dismiss at 11-12, ViroPharma Inc. v.

Hamburg¸ No. 1:10-cv-01529-ESH (D.D.C. Nov. 12, 2010) (D.I. No. 13).               Similarly, in

November 2011 – more than five years after ViroPharma filed its petition – the FDA advised the

D.C. Circuit that it still had not made a decision “relating to the appropriate testing to

demonstrate bioequivalence.” See Br. for Appellees at 36, Viropharma, Inc. v. Hamburg, No.

11-5143 (D.C. Cir. Nov. 21, 2011) (Doc. No. 1343328).




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       Moreover, ViroPharma’s petitioning was successful in certain key respects (a fact that

bolsters ViroPharma’s position here, but is not necessary for its conduct to be protected under

Noerr-Pennington). Among other things, ViroPharma challenged the application of the BCS

protocol to assess bioequivalence for generic Vancocin, a position that the FDA ultimately

accepted. See App. Ex. 3, April 9, 2012 FDA Response at p. 13. The FDA also explained and

elaborated on the scientific bases for its decision to allow bioequivalence testing for Vancocin

based on in vitro dissolution studies, which it had not done until ViroPharma petitioned for that

explanation. Id. at pp. 19-44. As courts in this district and throughout the Third Circuit have

made clear, “litigation will not be considered a ‘sham’ so long as at least one claim in the lawsuit

has objective merit.” Dentsply Int’l v. New Tech. Co., No. 96-272 MMS, 1996 WL 756766, at

*2 (D. Del. Dec. 19, 1996); see also In re Flonase Antitrust Litig., 795 F. Supp. 2d 300, 311-12

(E.D. Pa. 2011) (noting that conduct is not a sham if at least one claim in the petition has

objective merit).

       Put simply, where, as here, a petitioner is advocating for a position that the government

had itself held for years, and the agency to which the petition is directed acknowledges the

complexity of the issues presented, consequently convenes Advisory Committees of independent

experts on two separate occasions, and admits in court that, after five years of study, it still has

not decided the issue, there is no plausible basis to conclude that the petition was objectively

baseless.

               3.      The FTC’s Exaggerated Counting Exercise Does Not Add Up To A
                       Sham.

       The FTC’s attempt to establish the application of the sham exception based on the alleged

number of ViroPharma’s filings is meritless. The FTC goes to great lengths to provide a running

count of the filings ViroPharma made in the citizen petition docket, in response to the FDA’s



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request for comments on its draft guidance, and in federal court. That counting exercise is the

central (if not the only) support for the FTC’s claims in this case. Compl. ¶ 118.

       The FTC’s arithmetic is flawed and misleading in a number of respects.

       First, as discussed, there was only one citizen petition.       It is both misleading and

inappropriate to count each filing on the citizen petition docket as a separate “proceeding” for the

purposes of applying the Noerr-Pennington doctrine. That is equivalent to arguing that every

motion, response or other filing in a lawsuit should be considered a separate “proceeding” for the

purposes of applying the antitrust laws, each assessed independently on its objective merits and

its potential for affecting competition.      That position is unprecedented in the antitrust

jurisprudence and would, if accepted, create a cloud of potential antitrust liability over every

litigation or administrative matter.

       The courts have rejected attempts to count different parts of a litigation as separate

proceedings for Noerr-Pennington purposes. In Avaya Inc., RP v. Telecom Labs, Inc., 838 F.3d

354, 413-14 (3d Cir. 2016), for example, the Third Circuit held that separate claims in a patent

lawsuit are not separate “proceedings” for the purposes of applying Noerr-Pennington immunity.

The Court properly recognized that “cases often involve claims of varying degrees of merit,

many of which are weeded out . . . and it would be impractical to run a litigation system that

made those kinds of claims subject to antitrust suits.” Id. at 414. Other cases are in accord. See,

e.g., Luxpro Corp. v. Apple Inc., No. C 10-03058 JSW, 2011 WL 1086027, at *5 n.1 (N.D. Cal.

Mar. 24, 2011) (explaining that the court was not aware of any cases that support the notion that

the court should count appeals as separate proceedings for purposes of assessing the applicability

of the pattern exception); In re Terazosin Hydrochloride Antitrust Litig., 335 F. Supp. 2d 1336,

1360 (S.D. Fla. 2004) (even separate lawsuits can be treated as part of the same proceeding




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where “they all involved the same patent and the same underlying legal issue”). “Petitions and

motions filed within the same litigation or proceeding (i.e., lawsuit or administrative action . . .)

are not counted as separate proceedings for analysis under either PRE or California Motor

Transport.” P.R. Tel. Co. v. San Juan Cable Co. LLC, 196 F. Supp. 3d 248, 323 (D.P.R. 2016);

see also id. (explaining that “the caselaw addressing the sham pattern theory has assessed the

number of lawsuits filed, not motions or petitions filed within a lawsuit”).

       Indeed, under the FTC’s approach, PRE itself would have to be viewed as a “pattern”

case. PRE involved an allegedly sham lawsuit brought in federal district court. See 508 U.S. at

52. Despite the fact that the district court docket contained 164 distinct entries, including dozens

of motions, memoranda, declarations, and other filings – many of which were made by the party

alleged to have initiated the sham litigation – the Supreme Court treated the lawsuit as a single

proceeding for purposes of its antitrust analysis. See id. at 60.

       Second, the Complaint double-counts various comments that were submitted in response

to the FDA’s requests for public comments and cross-filed on the citizen petition docket.

Fourteen different filings are double-counted in this way, accounting for 28 of the 46 purported

filings the FTC challenges. Compl. ¶ 118.

       Third, the responses to the draft guidance were solicited by the FDA. See id. at ¶ 72

(stating, “[t]he FDA invited public comment for sixty days”).           They are not proceedings

instituted by ViroPharma. And, there are no allegations that those comments engendered delay

or otherwise interfered with the competitive process in any way.

       Fourth, none of the lawsuits about which the FTC complains are alleged to have

adversely affected competition. In fact, the lawsuits could not have affected competition unless




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the courts granted the relief ViroPharma sought, a type of competitive effect that is immune from

antitrust challenge. See, e.g., PRE, 508 U.S. at 56-57.

        Fifth, the vast majority of the filings at issue were made well before the earliest date that

the FTC alleges that any ANDA for a generic alternative for Vancocin was even potentially

approvable. The earliest date that the FTC alleges any ANDA was approvable is July 2010. See

Compl. ¶ 147 (“[A]bsent ViroPharma’s exclusionary conduct, generic entry likely would have

occurred by July 2010 – when Akorn’s ANDA was otherwise ready for approval – or even

earlier.”). Thus, filings before that time could not have delayed generic entry except to the

extent that they raised significant issues the FDA continued to consider over an extended period

of time. Moreover, as the Complaint makes clear, ViroPharma made only three submissions on

the citizen petition docket after July 2010, and there was an eleven-month period between

December 2010 and November 2011 when ViroPharma made no filings. Id. at ¶ 118. If

ViroPharma’s petition was truly objectively baseless, the FDA presumably would have denied it

during that eleven-month period, or at any time during the six years that the petition was

pending.

        Accordingly, this Complaint challenging ViroPharma’s Constitutionally-protected

petitioning activity should be dismissed pursuant to the Noerr-Pennington doctrine, for failure to

state a claim.

VI.     CONCLUSION

        For all of the foregoing reasons, the Complaint should be dismissed with prejudice.




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                                   Respectfully submitted,



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